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EXHIBIT 57
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             IRUPXODU\EXWVXEMHFWWRFHUWDLQOLPLWVDVGHVFULEHGLQPRUHGHWDLOODWHULQWKLVOHWWHU6LOYHU6FULSW&KRLFH 3'3 LV
             UHTXLUHGWRSURYLGH\RXZLWKDWHPSRUDU\VXSSO\RIWKLVGUXJ,I\RXUSUHVFULSWLRQLVZULWWHQIRUIHZHUWKDQ
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             GHWHUPLQDWLRQV'RQ¶WDVVXPHWKDWDQ\FRYHUDJHGHWHUPLQDWLRQLQFOXGLQJDQ\H[FHSWLRQ\RXKDYHUHTXHVWHGRU
             DSSHDOHGKDVEHHQDSSURYHGMXVWEHFDXVH\RXUHFHLYHPRUH¿OOVRIDGUXJ,IZHDSSURYHFRYHUDJHWKHQZH¶OO
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             LQIRUPDWLRQDERXWZKHQZHZLOOFRYHUDWHPSRUDU\VXSSO\RIDGUXJFRQWDFWXVDW77<XVHUV
             VKRXOGFDOO/LYHUHSUHVHQWDWLYHVDUHDYDLODEOHKRXUVDGD\GD\VDZHHN<RXFDQDVNXVIRUD
             FRYHUDJHGHWHUPLQDWLRQDWDQ\WLPH,QVWUXFWLRQVRQKRZWRFKDQJH\RXUFXUUHQWSUHVFULSWLRQKRZWRDVN
             IRUDFRYHUDJHGHWHUPLQDWLRQ LQFOXGLQJDQH[FHSWLRQ DQGKRZWRDSSHDODGHQLDOLI\RXGLVDJUHHZLWK
             RXUFRYHUDJHGHWHUPLQDWLRQDUHGLVFXVVHGDWWKHHQGRIWKLVOHWWHU
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             7KHIROORZLQJLVDVSHFL¿FH[SODQDWLRQRIZK\\RXUGUXJLVQRWFRYHUHGRULVOLPLWHG
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             KDYHUHFHLYHGWKHPD[LPXPGD\V¶WHPSRUDU\VXSSO\WKDWZHDUHUHTXLUHGWRFRYHUXQOHVV\RXREWDLQD
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             +RZGR,FKDQJHP\SUHVFULSWLRQ"
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             RWKHUGUXJXVHGWRWUHDW\RXUPHGLFDOFRQGLWLRQLVRQRXUIRUPXODU\DVNXVWRDSSURYHFRYHUDJHE\VKRZLQJWKDW
             \RXPHHWRXUFULWHULDRUDVNXVIRUDQH[FHSWLRQ:HHQFRXUDJH\RXWRDVN\RXUSUHVFULEHULIWKLVRWKHUGUXJWKDW
             ZHFRYHULVDQRSWLRQIRU\RX<RXKDYHWKHULJKWWRUHTXHVWDQH[FHSWLRQIURPXVWRFRYHU\RXUGUXJWKDWZDV
             RULJLQDOO\SUHVFULEHG,I\RXDVNIRUDQH[FHSWLRQ\RXUSUHVFULEHUZLOOQHHGWRSURYLGHXVZLWKDVWDWHPHQW
             H[SODLQLQJZK\DSULRUDXWKRUL]DWLRQTXDQWLW\OLPLWRURWKHUOLPLWZHKDYHSODFHGRQ\RXUGUXJLVQRWPHGLFDOO\
             DSSURSULDWHIRU\RX
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             <RXRU\RXUSUHVFULEHUPD\FRQWDFWXVWRUHTXHVWDFRYHUDJHGHWHUPLQDWLRQLQFOXGLQJDQH[FHSWLRQ7KHWROO
             IUHHSKRQHQXPEHULV 77<XVHUVVKRXOGFDOO RU\RXPD\ID[WRRU\RX
             PD\ZULWHWRXVDW6LOYHU6FULSW,QVXUDQFH&RPSDQ\3UHVFULSWLRQ'UXJ3ODQV&RYHUDJH'HFLVLRQVDQG$SSHDOV
             'HSDUWPHQW32%R[0&3KRHQL[$=:HDUHDYDLODEOHKRXUVDGD\GD\VD
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             ,I\RXDUHUHTXHVWLQJFRYHUDJHRIDGUXJWKDWLVQRWRQRXUIRUPXODU\RUDQH[FHSWLRQWRDFRYHUDJHUXOH\RXU
             SUHVFULEHUPXVWSURYLGHDVWDWHPHQWVXSSRUWLQJ\RXUUHTXHVW,WPD\EHKHOSIXOWREULQJWKLVQRWLFHZLWK\RXWR
             WKHSUHVFULEHURUVHQGDFRS\WRKLVRUKHURI¿FH,IWKHH[FHSWLRQUHTXHVWLQYROYHVDGUXJWKDWLVQRWRQRXU
             IRUPXODU\WKHSUHVFULEHU¶VVWDWHPHQWPXVWLQGLFDWHWKDWWKHUHTXHVWHGGUXJLVPHGLFDOO\QHFHVVDU\IRUWUHDWLQJ
             \RXUFRQGLWLRQEHFDXVHDOORIWKHGUXJVRQRXUIRUPXODU\ZRXOGEHOHVVHIIHFWLYHWKDQWKHUHTXHVWHGGUXJRU
             ZRXOGKDYHDGYHUVHHIIHFWVIRU\RX,IWKHH[FHSWLRQUHTXHVWLQYROYHVDSULRUDXWKRUL]DWLRQRURWKHUFRYHUDJH
             UXOHZHKDYHSODFHGRQDGUXJWKDWLVRQRXUIRUPXODU\WKHSUHVFULEHU¶VVWDWHPHQWPXVWLQGLFDWHWKDWWKH
             FRYHUDJHUXOHZRXOGQ¶WEHDSSURSULDWHIRU\RXJLYHQ\RXUFRQGLWLRQRUZRXOGKDYHDGYHUVHHIIHFWVIRU\RX
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             :HPXVWQRWLI\\RXRIRXUGHFLVLRQQRODWHUWKDQKRXUVLIWKHUHTXHVWKDVEHHQH[SHGLWHGRUQRODWHUWKDQ
             KRXUVLIWKHUHTXHVWLVDVWDQGDUGUHTXHVWIURPZKHQZHUHFHLYH\RXUUHTXHVW)RUH[FHSWLRQVWKH
             WLPHIUDPHEHJLQVZKHQZHREWDLQ\RXUSUHVFULEHU¶VVWDWHPHQW<RXUUHTXHVWZLOOEHH[SHGLWHGLIZHGHWHUPLQH
             RU\RXUSUHVFULEHUWHOOVXVWKDW\RXUOLIHKHDOWKRUDELOLW\WRUHJDLQPD[LPXPIXQFWLRQPD\EHVHULRXVO\
             MHRSDUGL]HGE\ZDLWLQJIRUDVWDQGDUGGHFLVLRQ
             
             :KDWLIP\UHTXHVWIRUFRYHUDJHLVGHQLHG"
             ,I\RXUUHTXHVWIRUFRYHUDJHLVGHQLHG\RXKDYHWKHULJKWWRDSSHDOE\DVNLQJIRUDUHYLHZRIWKHSULRUGHFLVLRQ
             ZKLFKLVFDOOHGDUHGHWHUPLQDWLRQ<RXPXVWUHTXHVWWKLVDSSHDOZLWKLQFDOHQGDUGD\VIURPWKHGDWHRIRXU
             ZULWWHQGHFLVLRQRQ\RXUFRYHUDJHGHWHUPLQDWLRQUHTXHVW:HDFFHSWVWDQGDUGDQGH[SHGLWHGUHTXHVWVE\
             WHOHSKRQHDQGLQZULWLQJ&RQWDFWXVDW6LOYHU6FULSW,QVXUDQFH&RPSDQ\3UHVFULSWLRQ'UXJ3ODQV&RYHUDJH
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             LQIRUPDWLRQDERXWZKHQZHZLOOFRYHUDWHPSRUDU\VXSSO\RIDGUXJFRQWDFWXVDWKRXUVD
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             ZHHN<RXFDQDVNXVIRUDFRYHUDJHGHWHUPLQDWLRQDWDQ\WLPH<RXFDQDOVRYLVLWRXUZHEVLWHDW
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                           SilverScript® Insurance Company complies with applicable Federal civil rights laws and does not
                           discriminate on the basis of race, color, national origin, age, disability, or sex. SilverScript
                           Insurance Company does not exclude people or treat them differently because of race, color,
                           national origin, age, disability, or sex.

                           SilverScript Insurance Company:
                               x Provides free aids and services to people with disabilities to communicate effectively
                                  with us, such as:
                                      o Written information in other formats (large print, audio, accessible electronic
                                           formats, other formats)

                                  x      Provides free language services to people whose primary language is not English, such
                                         as:
                                             o Qualified interpreters
                                             o Information written in other languages

                           If you need written information in other formats or free language services, please contact
                           Customer Care. This number can be found on the back of your member ID card or on the letter
                           that accompanied this notice.

                           If you believe that SilverScript Insurance Company has failed to provide these services or
                           discriminated in another way on the basis of race, color, national origin, age, disability, or sex,
                           you can file a grievance with: SilverScript Insurance Company, Grievance Department,
                           P.O. Box 30016, Pittsburgh, PA 15222-0330. Fax: 1-866-217-3353.

                           You can file a grievance by mail, or by fax. If you need help filing a grievance, the SilverScript
                           Grievance Department is available to help you.

                           You can also file a civil rights complaint with the U.S. Department of Health and Human
                           Services, Office for Civil Rights electronically through the Office for Civil Rights Complaint
                           Portal, available at https://ocrportal.hhs.gov/ocr/portal/lobby.jsf, or by mail or phone at:
                           U.S. Department of Health and Human Services, 200 Independence Avenue SW., Room 509F,
                           HHH Building, Washington, DC 20201, 1-800-368-1019, 1-800-537-7697 (TDD). Complaint
                           forms are available at http://www.hhs.gov/ocr/office/file/index.html.




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                                                                                                                        CVS-002171
/HDYHWKLVWH[WDQGWH[WER[KHUH7KLVWH[WLVQHHGHGIRUWKHSRVWSURFHVV
)LOHQDPH_BBBB0B
                                       Case 2:19-cv-02553-JMY Document 88-2 Filed 08/07/23 Page 76 of 196


                  E'>/^,                                                      &ZE,ZK>
                  ddEd/KE͗/ĨǇŽƵƐƉĞĂŬŶŐůŝƐŚ͕ůĂŶŐƵĂŐĞ                    dE^zKE͗^ŝǁƉĂůĞ<ƌĞǇžůǇŝƐǇĞŶ͕ŐĞŶƐğǀŝƐ
                  ĂƐƐŝƐƚĂŶĐĞƐĞƌǀŝĐĞƐ͕ĨƌĞĞŽĨĐŚĂƌŐĞ͕ĂƌĞĂǀĂŝůĂďůĞ           ğĚƉŽƵůĂŶŐŬŝĚŝƐƉŽŶŝďŐƌĂƚŝƐƉŽƵŽƵ͘ZĞůĞ
                  ƚŽǇŽƵ͘ĂůůϭͲϴϲϲͲϮϯϱͲϱϲϲϬ;ddz͗ϳϭϭͿ͘                      ϭͲϴϲϲͲϮϯϱͲϱϲϲϬ;ddz͗ϳϭϭͿ͘
                                                                               
                  ^WE/^,                                                      &ZE,
                  dE/ME͗^ŝƵƐƚĞĚŚĂďůĂĞƐƉĂŹŽů͕ƚĞŶĞŵŽƐ                    ddEd/KE͗^ŝǀŽƵƐƉĂƌůĞǌĨƌĂŶĕĂŝƐ͕ĚĞƐƐĞƌǀŝĐĞƐ
                  ƐĞƌǀŝĐŝŽƐĚĞĂƐŝƐƚĞŶĐŝĂůŝŶŐƺşƐƚŝĐĂĚŝƐƉŽŶŝďůĞƐ              ŐƌĂƚƵŝƚƐĚ͛ŝŶƚĞƌƉƌĠƚĂƚŝŽŶƐŽŶƚăǀŽƚƌĞ
                  ƉĂƌĂƵƐƚĞĚƐŝŶĐŽƐƚŽĂůŐƵŶŽ͘>ůĂŵĞĂů                       ĚŝƐƉŽƐŝƚŝŽŶ͘sĞƵŝůůĞǌĂƉƉĞůĞƌůĞϭͲϴϲϲͲϮϯϱͲϱϲϲϬ
                  ϭͲϴϲϲͲϮϯϱͲϱϲϲϬ;ddz͗ϳϭϭͿ͘                                   ;ddz͗ϳϭϭͿ͘
                                                                               
                  ,/E^                                                      WK>/^,
                  ᑠ崛ኈ㸸ዴᯝᝍ寛ᬑ㏻寄㸪㬉㏄౑⏝ච崠寔                                           ht'͗ůĂŽƐſďŵſǁŝČĐǇĐŚƉŽƉŽůƐŬƵ
                  ゝ⌶ຓ᭹⊈ࠋ寞㋏ϭͲϴϲϲͲϮϯϱͲϱϲϲϬ;ddz͗                                 ĚŽƐƚħƉŶĂũĞƐƚďĞǌƉųĂƚŶĂƉŽŵŽĐũħǌǇŬŽǁĂ͘
                  ϳϭϭͿࠋ                                                        ĂĚǌǁŽŷƉŽĚŶƵŵĞƌϭͲϴϲϲͲϮϯϱͲϱϲϲϬ;ddz͗ϳϭϭͿ͘
                                                                               
                  s/dED^                                                   WKZdh'h^
                  ,j|͗EұƵƋƵǇǵǀŝ าŶſŝƚŝġǵŶŐsŝҵƚ͕ƚŚŞĐſƐҬŶĐĄĐ         dEK͗^ĞĨĂůĂƉŽƌƚƵŐƵġƐ͕ĞƐƚĆŽĚŝƐƉŽŶşǀĞŝƐ
                  ĚҷĐŚǀӅƚƌӄŐŝƷƉŶŐƀŶŶŐӋŵŝҴŶƉŚşĚăŶŚĐŚŽ                  ƐĞƌǀŝĕŽƐŐƌĂƚƵŝƚŽƐĚĞĂƐƐŝƐƚġŶĐŝĂůŝŶŐƵşƐƚŝĐĂŶĂ
                  ƋƵǇǵǀŝ า͘,ĆǇŐҸŝƐƀǵϭͲϴϲϲͲϮϯϱͲϱϲϲϬ;ddz͗ϳϭϭͿ͘            ƐƵĂůşŶŐƵĂ͘dĞůĞĨŽŶĞƉĂƌĂϭͲϴϲϲͲϮϯϱͲϱϲϲϬ
                                                                               ;ddz͗ϳϭϭͿ͘
                  <KZE                                                       
                  ߊս͗ଞ˲߭ձଜ‫ݤ‬Еˁࡉ‫ה‬Վ੼ࠇ                                        /d>/E
                  ۰‫ݛٸ‬ɼࣱ‫ٸ‬Ѹ߭࢑‫ݡ‬ТЬ͘                                             ddE/KE͗^ĞůĞŝƉĂƌůĂŝƚĂůŝĂŶŽ͕ƐŽŶŽ
                  ϭͲϴϲϲͲϮϯϱͲϱϲϲϬ;ddz͗ϳϭϭͿԻࠉԃ࣯‫̛ݤ‬                             ĚŝƐƉŽŶŝďŝůŝƐĞƌǀŝǌŝŐƌĂƚƵŝƚŝĚŝĂƐƐŝƐƚĞŶǌĂůŝŶŐƵŝƐƚŝĐĂ
                                                                                ŶĞůůĂƐƵĂůŝŶŐƵĂ͘ŚŝĂŵŝϭͲϴϲϲͲϮϯϱͲϱϲϲϬ
                  ‫؂‬ԇТЬ͘
                                                                                ;ddz͗ϳϭϭͿ͘
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                  d'>K'
                                                                                :WE^
                  WE^/E/E͗<ƵŶŐŶĂŐƐĂƐĂůŝƚĂƉŽŬĂǇŽŶŐdĂŐĂůŽŐ͕
                  ŵĂŐĂŐĂŵŝƚŶŝŶǇŽĂŶŐŵŐĂƐĞƌďŝƐǇŽŶŐƚƵůŽŶŐƐĂ                 ࠾▱ࡽࡏ͗᪥ᮏㄒ࡛ࡢᑐᛂࢆᮃࡲࢀࡿ᪉࡟
                  ǁŝŬĂŶŐǁĂůĂŶŐďĂǇĂĚ͘dĂǁĂŐĂŶƉŽĂŶŐ                         ࡣࠊ↓ᩱ࡛㏻ヂࢧ࣮ࣅࢫࢆࡈ฼⏝࡟࡞ࢀࡲ
                  ϭͲϴϲϲͲϮϯϱͲϱϲϲϬ;ddz͗ϳϭϭͿ͘                                   ࡍࠋ㟁ヰ␒ྕϭͲϴϲϲͲϮϯϱͲϱϲϲϬ;ddz͗ϳϭϭͿࡲ࡛
                                                                               ࠾ၥ࠸ྜࢃࡏୗࡉ࠸ࠋ
                  Zh^^/E                                                      
                  ʦʻʰʺʤʻʰʫ͗ʫ̛̭̣̼̏̨̨̛̬̯̖̐̏̦̌̡̨̬̱̭̭̥                        'ZDE
                  ̡̼̖͕́̚̥̏̌̱̱̯̍̔̨̖̭̪̣̯̦̍̌̨̪̬̖̭̯̣̖̦̼̔̌̏                     /dd,dE͗tĞŶŶ^ŝĞĞƵƚƐĐŚƐƉƌĞĐŚĞŶ͕
                  ̛̱̭̣̱̐̸̨̡̛̪̖̬̖̏̔̌͘ʯ̨̛̦̯̖̏̨̪̴̨̯̖̣̖̦̱͗                    ƐƚĞŚĞŶ/ŚŶĞŶƵŶƐĞƌĞŽůŵĞƚƐĐŚĞƌƵŶƚĞƌĚĞƌ
                  ϭͲϴϲϲͲϮϯϱͲϱϲϲϬ;̯̖̣̖̯̜̪̌͗ϳϭϭͿ͘                              EƵŵŵĞƌϭͲϴϲϲͲϮϯϱͲϱϲϲϬ;ddz͗ϳϭϭͿŬŽƐƚĞŶůŽƐ
                                                                               ǌƵƌsĞƌĨƺŐƵŶŐ͘
                  Z/                                                        
                 ΓΪϋΎδϤϟ΍ΕΎϣΪΧήϓϮΘΗˬΔϴΑήόϟ΍ΙΪΤΘΗΖϨϛ΍Ϋ·ΔψΣϼϣ            &Z^/
                 ϭϴϲϲϮϯϱϱϲϲϬϢϗήϟΎΑϞμΗ΍ϚϠΟ΃ϦϣΎ˱ϧΎΠϣΔϳϮϐϠϟ΍               ΕΎϣΪΧˬΪϴϨ̶̯ϣΖΒΤλ̶γέΎϓϥΎΑίϪΑϪ̪ϧΎϨ̩ϪΟϮΗ
                                                  ϳϭϭϲμϨϟ΍ϒΗΎϬϟ΍               έ΍ήϗΎϤηέΎϴΘΧ΍έΩˬϥΎ̴ϳ΍έΕέϮλϪΑˬ̶ϧΎΑί̮Ϥ̯
                                                                                     ϭͲϴϲϲͲϮϯϱͲϱϲϲϬ;ddz: ϩέΎϤηΎΑΖϓή̳Ϊϫ΍ϮΧ
                                                                                                                  Ϊϳήϴ̴ΑαΎϤΗϳϭϭ)




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Case 2:19-cv-02553-JMY Document 88-2 Filed 08/07/23 Page 77 of 196




EXHIBIT 58
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EXHIBIT 59
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EXHIBIT 60
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               Harvoni & Epclusa Gx Rejected Claims
                       (for the month of January 2019)

Plan                  Member      Claim Fill Date   Product/Drug Label Name
                      State
SILVERSCRIPT-INDIV-   AL          1/9/19            SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   AL          1/9/19            SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   AL          1/9/19            SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   AR          1/30/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   AZ          1/22/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   AZ          1/22/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   AZ          1/23/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   CA          1/22/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   CA          1/14/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   CA          1/10/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   CA          1/29/19           LEDIP-SOFOSB TAB 90-400MG
ENROLL
SILVERSCRIPT-INDIV-   CA          1/29/19           LEDIP-SOFOSB TAB 90-400MG
ENROLL
SILVERSCRIPT-INDIV-   CA          1/24/19           LEDIP-SOFOSB TAB 90-400MG
ENROLL
SILVERSCRIPT-INDIV-   CA          1/24/19           LEDIP-SOFOSB TAB 90-400MG
ENROLL
SILVERSCRIPT-INDIV-   CA          1/24/19           LEDIP-SOFOSB TAB 90-400MG
ENROLL
SILVERSCRIPT-INDIV-   CA          1/24/19           LEDIP-SOFOSB TAB 90-400MG
ENROLL
SILVERSCRIPT-INDIV-   CA          1/15/19           LEDIP-SOFOSB TAB 90-400MG
ENROLL
SILVERSCRIPT-INDIV-   CO          1/17/19           LEDIP-SOFOSB TAB 90-400MG
ENROLL
SILVERSCRIPT-INDIV-   CO          1/17/19           LEDIP-SOFOSB TAB 90-400MG
ENROLL


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       Case 2:19-cv-02553-JMY Document 88-2 Filed 08/07/23 Page 83 of 196




Plan                  Member      Claim Fill Date   Product/Drug Label Name
                      State
SILVERSCRIPT-INDIV-   CO          1/14/19           LEDIP-SOFOSB TAB 90-400MG
ENROLL
SILVERSCRIPT-INDIV-   CT          1/22/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   FL          1/28/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   FL          1/28/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   FL          1/15/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   FL          1/21/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   FL          1/22/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   FL          1/24/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   FL          1/28/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   FL          1/9/19            SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   FL          1/30/19           LEDIP-SOFOSB TAB 90-400MG
ENROLL
SILVERSCRIPT-INDIV-   GA          1/25/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   GA          1/31/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   GA          1/16/19           LEDIP-SOFOSB TAB 90-400MG
ENROLL
SILVERSCRIPT-INDIV-   GA          1/28/19           LEDIP-SOFOSB TAB 90-400MG
ENROLL
SILVERSCRIPT-INDIV-   IL          1/23/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   IL          1/23/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   IL          1/23/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   IL          1/23/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   IL          1/23/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   IN          1/22/19           SOFOS/VELPAT TAB 400-100
ENROLL



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Plan                  Member      Claim Fill Date   Product/Drug Label Name
                      State
SILVERSCRIPT-INDIV-   IN          1/18/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   IN          1/18/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   IN          1/28/19           LEDIP-SOFOSB TAB 90-400MG
ENROLL
SILVERSCRIPT-INDIV-   KS          1/28/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   KY          1/31/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   MA          1/11/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   MA          1/11/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   MA          1/10/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   MA          1/9/19            SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   MA          1/17/19           LEDIP-SOFOSB TAB 90-400MG
ENROLL
SILVERSCRIPT-INDIV-   MD          1/11/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   ME          1/30/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   MI          1/11/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   MI          1/30/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   MI          1/30/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   MI          1/18/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   MI          1/22/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   MI          1/24/19           LEDIP-SOFOSB TAB 90-400MG
ENROLL
SILVERSCRIPT-INDIV-   MI          1/24/19           LEDIP-SOFOSB TAB 90-400MG
ENROLL
SILVERSCRIPT-INDIV-   MI          1/17/19           LEDIP-SOFOSB TAB 90-400MG
ENROLL
SILVERSCRIPT-INDIV-   MO          1/28/19           SOFOS/VELPAT TAB 400-100
ENROLL



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Plan                  Member      Claim Fill Date   Product/Drug Label Name
                      State
SILVERSCRIPT-INDIV-   MO          1/23/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   MO          1/23/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   MO          1/23/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   MO          1/30/19           LEDIP-SOFOSB TAB 90-400MG
ENROLL
SILVERSCRIPT-INDIV-   MO          1/30/19           LEDIP-SOFOSB TAB 90-400MG
ENROLL
SILVERSCRIPT-INDIV-   MS          1/28/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   MS          1/29/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   MS          1/31/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   NC          1/22/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   NC          1/30/19           LEDIP-SOFOSB TAB 90-400MG
ENROLL
SILVERSCRIPT-INDIV-   NY          1/10/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   NY          1/21/19           LEDIP-SOFOSB TAB 90-400MG
ENROLL
SILVERSCRIPT-INDIV-   NY          1/21/19           LEDIP-SOFOSB TAB 90-400MG
ENROLL
SILVERSCRIPT-INDIV-   NY          1/28/19           LEDIP-SOFOSB TAB 90-400MG
ENROLL
SILVERSCRIPT-INDIV-   OR          1/7/19            LEDIP-SOFOSB TAB 90-400MG
ENROLL
SILVERSCRIPT-INDIV-   PA          1/31/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   PA          1/9/19            LEDIP-SOFOSB TAB 90-400MG
ENROLL
SILVERSCRIPT-INDIV-   RI          1/3/19            LEDIP-SOFOSB TAB 90-400MG
ENROLL
SILVERSCRIPT-INDIV-   SC          1/22/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   TN          1/23/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   TN          1/30/19           SOFOS/VELPAT TAB 400-100
ENROLL



                                         4
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Plan                  Member      Claim Fill Date   Product/Drug Label Name
                      State
SILVERSCRIPT-INDIV-   TN          1/21/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   TN          1/22/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   TN          1/7/19            SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   TX          12/21/18          SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   TX          1/23/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   VA          1/25/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   VT          1/24/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   VT          1/24/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   WA          1/9/19            SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   WI          12/18/18          SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   WI          12/18/18          SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   WI          12/18/18          SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   WI          1/2/19            LEDIP-SOFOSB TAB 90-400MG
ENROLL
SILVERSCRIPT-INDIV-   WI          1/21/19           LEDIP-SOFOSB TAB 90-400MG
ENROLL
SILVERSCRIPT-INDIV-   WV          1/30/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   WV          1/31/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   WV          1/28/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   WV          1/30/19           SOFOS/VELPAT TAB 400-100
ENROLL
SILVERSCRIPT-INDIV-   WV          1/31/19           SOFOS/VELPAT TAB 400-100
ENROLL




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        Generic Ventolin HFA Transition Fill Claims
                      (2019.02.07 to 2019.02.13)

STATE     DATE FILL     NDC                DRUG
LA        20190207      66993001968        ALBUTEROL   AER HFA
MS        20190207      66993001968        ALBUTEROL   AER HFA
ID        20190207      66993001968        ALBUTEROL   AER HFA
AR        20190207      66993001968        ALBUTEROL   AER HFA
FL        20190207      66993001968        ALBUTEROL   AER HFA
NY        20190207      66993001968        ALBUTEROL   AER HFA
OK        20190207      66993001968        ALBUTEROL   AER HFA
WA        20190207      66993001968        ALBUTEROL   AER HFA
MO        20190207      66993001968        ALBUTEROL   AER HFA
IL        20190207      66993001968        ALBUTEROL   AER HFA
OK        20190207      66993001968        ALBUTEROL   AER HFA
CA        20190207      66993001968        ALBUTEROL   AER HFA
CA        20190207      66993001968        ALBUTEROL   AER HFA
NH        20190207      66993001968        ALBUTEROL   AER HFA
NC        20190207      66993001968        ALBUTEROL   AER HFA
IL        20190207      66993001968        ALBUTEROL   AER HFA
AR        20190207      66993001968        ALBUTEROL   AER HFA
CA        20190207      66993001968        ALBUTEROL   AER HFA
AR        20190207      66993001968        ALBUTEROL   AER HFA
MO        20190207      66993001968        ALBUTEROL   AER HFA
CO        20190207      66993001968        ALBUTEROL   AER HFA
FL        20190207      66993001968        ALBUTEROL   AER HFA
AR        20190207      66993001968        ALBUTEROL   AER HFA
NJ        20190207      66993001968        ALBUTEROL   AER HFA
TX        20190207      66993001968        ALBUTEROL   AER HFA
NM        20190207      66993001968        ALBUTEROL   AER HFA
OH        20190207      66993001968        ALBUTEROL   AER HFA
FL        20190207      66993001968        ALBUTEROL   AER HFA
FL        20190207      66993001968        ALBUTEROL   AER HFA
SC        20190207      66993001968        ALBUTEROL   AER HFA
OH        20190207      66993001968        ALBUTEROL   AER HFA
IL        20190207      66993001968        ALBUTEROL   AER HFA
NY        20190207      66993001968        ALBUTEROL   AER HFA
MD        20190207      66993001968        ALBUTEROL   AER HFA
PA        20190207      66993001968        ALBUTEROL   AER HFA
NY        20190207      66993001968        ALBUTEROL   AER HFA


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STATE     DATE FILL     NDC                DRUG
OH        20190207      66993001968        ALBUTEROL   AER HFA
OR        20190207      66993001968        ALBUTEROL   AER HFA
FL        20190207      66993001968        ALBUTEROL   AER HFA
TX        20190207      66993001968        ALBUTEROL   AER HFA
KS        20190207      66993001968        ALBUTEROL   AER HFA
MA        20190207      66993001968        ALBUTEROL   AER HFA
OH        20190207      66993001968        ALBUTEROL   AER HFA
WV        20190207      66993001968        ALBUTEROL   AER HFA
FL        20190207      66993001968        ALBUTEROL   AER HFA
PA        20190207      66993001968        ALBUTEROL   AER HFA
AL        20190207      66993001968        ALBUTEROL   AER HFA
CA        20190207      66993001968        ALBUTEROL   AER HFA
CA        20190207      66993001968        ALBUTEROL   AER HFA
CO        20190207      66993001968        ALBUTEROL   AER HFA
CA        20190207      66993001968        ALBUTEROL   AER HFA
SC        20190207      66993001968        ALBUTEROL   AER HFA
MS        20190207      66993001968        ALBUTEROL   AER HFA
MN        20190207      66993001968        ALBUTEROL   AER HFA
NY        20190207      66993001968        ALBUTEROL   AER HFA
KS        20190207      66993001968        ALBUTEROL   AER HFA
MD        20190207      66993001968        ALBUTEROL   AER HFA
OH        20190207      66993001968        ALBUTEROL   AER HFA
MI        20190207      66993001968        ALBUTEROL   AER HFA
FL        20190207      66993001968        ALBUTEROL   AER HFA
IL        20190207      66993001968        ALBUTEROL   AER HFA
WI        20190207      66993001968        ALBUTEROL   AER HFA
KY        20190207      66993001968        ALBUTEROL   AER HFA
NE        20190207      66993001968        ALBUTEROL   AER HFA
OK        20190207      66993001968        ALBUTEROL   AER HFA
ID        20190207      66993001968        ALBUTEROL   AER HFA
VT        20190207      66993001968        ALBUTEROL   AER HFA
TX        20190207      66993001968        ALBUTEROL   AER HFA
IL        20190207      66993001968        ALBUTEROL   AER HFA
NC        20190207      66993001968        ALBUTEROL   AER HFA
OH        20190207      66993001968        ALBUTEROL   AER HFA
NJ        20190207      66993001968        ALBUTEROL   AER HFA
AZ        20190207      66993001968        ALBUTEROL   AER HFA
OR        20190207      66993001968        ALBUTEROL   AER HFA
MO        20190207      66993001968        ALBUTEROL   AER HFA
MN        20190207      66993001968        ALBUTEROL   AER HFA


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STATE     DATE FILL     NDC                DRUG
WI        20190207      66993001968        ALBUTEROL   AER HFA
WI        20190207      66993001968        ALBUTEROL   AER HFA
CA        20190207      66993001968        ALBUTEROL   AER HFA
MS        20190207      66993001968        ALBUTEROL   AER HFA
IA        20190207      66993001968        ALBUTEROL   AER HFA
MD        20190207      66993001968        ALBUTEROL   AER HFA
FL        20190207      66993001968        ALBUTEROL   AER HFA
NE        20190207      66993001968        ALBUTEROL   AER HFA
MS        20190207      66993001968        ALBUTEROL   AER HFA
OH        20190207      66993001968        ALBUTEROL   AER HFA
OH        20190207      66993001968        ALBUTEROL   AER HFA
MS        20190207      66993001968        ALBUTEROL   AER HFA
TX        20190207      66993001968        ALBUTEROL   AER HFA
PA        20190207      66993001968        ALBUTEROL   AER HFA
TX        20190207      66993001968        ALBUTEROL   AER HFA
CA        20190207      66993001968        ALBUTEROL   AER HFA
FL        20190207      66993001968        ALBUTEROL   AER HFA
VA        20190207      66993001968        ALBUTEROL   AER HFA
SC        20190207      66993001968        ALBUTEROL   AER HFA
FL        20190207      66993001968        ALBUTEROL   AER HFA
WA        20190207      66993001968        ALBUTEROL   AER HFA
NY        20190207      66993001968        ALBUTEROL   AER HFA
CA        20190207      66993001968        ALBUTEROL   AER HFA
NM        20190207      66993001968        ALBUTEROL   AER HFA
TX        20190207      66993001968        ALBUTEROL   AER HFA
SC        20190207      66993001968        ALBUTEROL   AER HFA
TX        20190207      66993001968        ALBUTEROL   AER HFA
TX        20190207      66993001968        ALBUTEROL   AER HFA
NM        20190208      66993001968        ALBUTEROL   AER HFA
NY        20190208      66993001968        ALBUTEROL   AER HFA
NH        20190208      66993001968        ALBUTEROL   AER HFA
PA        20190208      66993001968        ALBUTEROL   AER HFA
PA        20190208      66993001968        ALBUTEROL   AER HFA
TX        20190208      66993001968        ALBUTEROL   AER HFA
WA        20190208      66993001968        ALBUTEROL   AER HFA
IA        20190208      66993001968        ALBUTEROL   AER HFA
CA        20190208      66993001968        ALBUTEROL   AER HFA
NJ        20190208      66993001968        ALBUTEROL   AER HFA
WA        20190208      66993001968        ALBUTEROL   AER HFA
MD        20190208      66993001968        ALBUTEROL   AER HFA


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STATE     DATE FILL     NDC                DRUG
AZ        20190208      66993001968        ALBUTEROL   AER HFA
MI        20190208      66993001968        ALBUTEROL   AER HFA
MN        20190208      66993001968        ALBUTEROL   AER HFA
NY        20190208      66993001968        ALBUTEROL   AER HFA
OH        20190208      66993001968        ALBUTEROL   AER HFA
PA        20190208      66993001968        ALBUTEROL   AER HFA
FL        20190208      66993001968        ALBUTEROL   AER HFA
WY        20190208      66993001968        ALBUTEROL   AER HFA
IA        20190208      66993001968        ALBUTEROL   AER HFA
NY        20190208      66993001968        ALBUTEROL   AER HFA
OR        20190208      66993001968        ALBUTEROL   AER HFA
MN        20190208      66993001968        ALBUTEROL   AER HFA
TX        20190208      66993001968        ALBUTEROL   AER HFA
MN        20190208      66993001968        ALBUTEROL   AER HFA
TN        20190208      66993001968        ALBUTEROL   AER HFA
SC        20190208      66993001968        ALBUTEROL   AER HFA
KS        20190208      66993001968        ALBUTEROL   AER HFA
OH        20190208      66993001968        ALBUTEROL   AER HFA
GA        20190208      66993001968        ALBUTEROL   AER HFA
WV        20190208      66993001968        ALBUTEROL   AER HFA
MN        20190208      66993001968        ALBUTEROL   AER HFA
MN        20190208      66993001968        ALBUTEROL   AER HFA
NC        20190208      66993001968        ALBUTEROL   AER HFA
CA        20190208      66993001968        ALBUTEROL   AER HFA
CA        20190208      66993001968        ALBUTEROL   AER HFA
CO        20190208      66993001968        ALBUTEROL   AER HFA
MO        20190208      66993001968        ALBUTEROL   AER HFA
NY        20190208      66993001968        ALBUTEROL   AER HFA
CA        20190208      66993001968        ALBUTEROL   AER HFA
CA        20190208      66993001968        ALBUTEROL   AER HFA
CA        20190208      66993001968        ALBUTEROL   AER HFA
CO        20190208      66993001968        ALBUTEROL   AER HFA
SC        20190208      66993001968        ALBUTEROL   AER HFA
NY        20190208      66993001968        ALBUTEROL   AER HFA
KY        20190208      66993001968        ALBUTEROL   AER HFA
CA        20190208      66993001968        ALBUTEROL   AER HFA
IL        20190208      66993001968        ALBUTEROL   AER HFA
MA        20190208      66993001968        ALBUTEROL   AER HFA
AR        20190208      66993001968        ALBUTEROL   AER HFA
GA        20190208      66993001968        ALBUTEROL   AER HFA


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STATE     DATE FILL     NDC                DRUG
MN        20190208      66993001968        ALBUTEROL   AER HFA
MI        20190208      66993001968        ALBUTEROL   AER HFA
MS        20190208      66993001968        ALBUTEROL   AER HFA
FL        20190208      66993001968        ALBUTEROL   AER HFA
NJ        20190208      66993001968        ALBUTEROL   AER HFA
IN        20190208      66993001968        ALBUTEROL   AER HFA
TX        20190208      66993001968        ALBUTEROL   AER HFA
MN        20190208      66993001968        ALBUTEROL   AER HFA
NY        20190208      66993001968        ALBUTEROL   AER HFA
MD        20190208      66993001968        ALBUTEROL   AER HFA
IN        20190208      66993001968        ALBUTEROL   AER HFA
MI        20190208      66993001968        ALBUTEROL   AER HFA
MI        20190208      66993001968        ALBUTEROL   AER HFA
NC        20190208      66993001968        ALBUTEROL   AER HFA
CA        20190208      66993001968        ALBUTEROL   AER HFA
FL        20190208      66993001968        ALBUTEROL   AER HFA
CA        20190208      66993001968        ALBUTEROL   AER HFA
NC        20190208      66993001968        ALBUTEROL   AER HFA
TX        20190208      66993001968        ALBUTEROL   AER HFA
IN        20190208      66993001968        ALBUTEROL   AER HFA
IL        20190208      66993001968        ALBUTEROL   AER HFA
IL        20190208      66993001968        ALBUTEROL   AER HFA
KS        20190208      66993001968        ALBUTEROL   AER HFA
NY        20190208      66993001968        ALBUTEROL   AER HFA
TN        20190208      66993001968        ALBUTEROL   AER HFA
TN        20190208      66993001968        ALBUTEROL   AER HFA
GA        20190208      66993001968        ALBUTEROL   AER HFA
PA        20190208      66993001968        ALBUTEROL   AER HFA
IL        20190209      66993001968        ALBUTEROL   AER HFA
DE        20190209      66993001968        ALBUTEROL   AER HFA
FL        20190209      66993001968        ALBUTEROL   AER HFA
NY        20190209      66993001968        ALBUTEROL   AER HFA
TX        20190209      66993001968        ALBUTEROL   AER HFA
SC        20190209      66993001968        ALBUTEROL   AER HFA
NM        20190209      66993001968        ALBUTEROL   AER HFA
SD        20190209      66993001968        ALBUTEROL   AER HFA
VA        20190209      66993001968        ALBUTEROL   AER HFA
AR        20190209      66993001968        ALBUTEROL   AER HFA
WA        20190209      66993001968        ALBUTEROL   AER HFA
IL        20190209      66993001968        ALBUTEROL   AER HFA


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STATE     DATE FILL     NDC                DRUG
NC        20190209      66993001968        ALBUTEROL   AER HFA
TN        20190209      66993001968        ALBUTEROL   AER HFA
LA        20190209      66993001968        ALBUTEROL   AER HFA
NM        20190209      66993001968        ALBUTEROL   AER HFA
MN        20190209      66993001968        ALBUTEROL   AER HFA
CA        20190209      66993001968        ALBUTEROL   AER HFA
SC        20190209      66993001968        ALBUTEROL   AER HFA
NV        20190209      66993001968        ALBUTEROL   AER HFA
MN        20190209      66993001968        ALBUTEROL   AER HFA
NY        20190209      66993001968        ALBUTEROL   AER HFA
IA        20190209      66993001968        ALBUTEROL   AER HFA
OH        20190209      66993001968        ALBUTEROL   AER HFA
WI        20190209      66993001968        ALBUTEROL   AER HFA
VA        20190209      66993001968        ALBUTEROL   AER HFA
MI        20190209      66993001968        ALBUTEROL   AER HFA
MO        20190209      66993001968        ALBUTEROL   AER HFA
OH        20190209      66993001968        ALBUTEROL   AER HFA
CA        20190209      66993001968        ALBUTEROL   AER HFA
AR        20190209      66993001968        ALBUTEROL   AER HFA
IN        20190209      66993001968        ALBUTEROL   AER HFA
SC        20190209      66993001968        ALBUTEROL   AER HFA
SC        20190209      66993001968        ALBUTEROL   AER HFA
IN        20190209      66993001968        ALBUTEROL   AER HFA
FL        20190210      66993001968        ALBUTEROL   AER HFA
GA        20190210      66993001968        ALBUTEROL   AER HFA
CA        20190210      66993001968        ALBUTEROL   AER HFA
MI        20190210      66993001968        ALBUTEROL   AER HFA
RI        20190210      66993001968        ALBUTEROL   AER HFA
GA        20190210      66993001968        ALBUTEROL   AER HFA
NC        20190210      66993001968        ALBUTEROL   AER HFA
NC        20190210      66993001968        ALBUTEROL   AER HFA
GA        20190210      66993001968        ALBUTEROL   AER HFA
NC        20190210      66993001968        ALBUTEROL   AER HFA
MS        20190210      66993001968        ALBUTEROL   AER HFA
CA        20190210      66993001968        ALBUTEROL   AER HFA
AR        20190210      66993001968        ALBUTEROL   AER HFA
GA        20190210      66993001968        ALBUTEROL   AER HFA
FL        20190210      66993001968        ALBUTEROL   AER HFA
FL        20190210      66993001968        ALBUTEROL   AER HFA
OR        20190210      66993001968        ALBUTEROL   AER HFA


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STATE     DATE FILL     NDC                DRUG
AR        20190210      66993001968        ALBUTEROL   AER HFA
CA        20190210      66993001968        ALBUTEROL   AER HFA
TN        20190210      66993001968        ALBUTEROL   AER HFA
IL        20190210      66993001968        ALBUTEROL   AER HFA
MA        20190210      66993001968        ALBUTEROL   AER HFA
PA        20190210      66993001968        ALBUTEROL   AER HFA
FL        20190210      66993001968        ALBUTEROL   AER HFA
FL        20190210      66993001968        ALBUTEROL   AER HFA
MD        20190211      66993001968        ALBUTEROL   AER HFA
MI        20190211      66993001968        ALBUTEROL   AER HFA
MI        20190211      66993001968        ALBUTEROL   AER HFA
AZ        20190211      66993001968        ALBUTEROL   AER HFA
IN        20190211      66993001968        ALBUTEROL   AER HFA
HI        20190211      66993001968        ALBUTEROL   AER HFA
FL        20190211      66993001968        ALBUTEROL   AER HFA
IA        20190211      66993001968        ALBUTEROL   AER HFA
NJ        20190211      66993001968        ALBUTEROL   AER HFA
IA        20190211      66993001968        ALBUTEROL   AER HFA
RI        20190211      66993001968        ALBUTEROL   AER HFA
MO        20190211      66993001968        ALBUTEROL   AER HFA
SC        20190211      66993001968        ALBUTEROL   AER HFA
TX        20190211      66993001968        ALBUTEROL   AER HFA
TX        20190211      66993001968        ALBUTEROL   AER HFA
SC        20190211      66993001968        ALBUTEROL   AER HFA
FL        20190211      66993001968        ALBUTEROL   AER HFA
FL        20190211      66993001968        ALBUTEROL   AER HFA
NE        20190211      66993001968        ALBUTEROL   AER HFA
FL        20190211      66993001968        ALBUTEROL   AER HFA
NY        20190211      66993001968        ALBUTEROL   AER HFA
VA        20190211      66993001968        ALBUTEROL   AER HFA
MN        20190211      66993001968        ALBUTEROL   AER HFA
FL        20190211      66993001968        ALBUTEROL   AER HFA
PA        20190211      66993001968        ALBUTEROL   AER HFA
NH        20190211      66993001968        ALBUTEROL   AER HFA
SC        20190211      66993001968        ALBUTEROL   AER HFA
IL        20190211      66993001968        ALBUTEROL   AER HFA
NY        20190211      66993001968        ALBUTEROL   AER HFA
MN        20190211      66993001968        ALBUTEROL   AER HFA
MD        20190211      66993001968        ALBUTEROL   AER HFA
NM        20190211      66993001968        ALBUTEROL   AER HFA


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STATE     DATE FILL     NDC                DRUG
KY        20190211      66993001968        ALBUTEROL   AER HFA
AR        20190211      66993001968        ALBUTEROL   AER HFA
MS        20190211      66993001968        ALBUTEROL   AER HFA
SC        20190211      66993001968        ALBUTEROL   AER HFA
MI        20190211      66993001968        ALBUTEROL   AER HFA
NY        20190211      66993001968        ALBUTEROL   AER HFA
MN        20190211      66993001968        ALBUTEROL   AER HFA
VA        20190211      66993001968        ALBUTEROL   AER HFA
IL        20190211      66993001968        ALBUTEROL   AER HFA
ID        20190211      66993001968        ALBUTEROL   AER HFA
NE        20190211      66993001968        ALBUTEROL   AER HFA
SC        20190211      66993001968        ALBUTEROL   AER HFA
OR        20190211      66993001968        ALBUTEROL   AER HFA
IL        20190211      66993001968        ALBUTEROL   AER HFA
TX        20190211      66993001968        ALBUTEROL   AER HFA
IL        20190211      66993001968        ALBUTEROL   AER HFA
MN        20190211      66993001968        ALBUTEROL   AER HFA
MD        20190211      66993001968        ALBUTEROL   AER HFA
NY        20190211      66993001968        ALBUTEROL   AER HFA
MI        20190211      66993001968        ALBUTEROL   AER HFA
TX        20190211      66993001968        ALBUTEROL   AER HFA
SD        20190211      66993001968        ALBUTEROL   AER HFA
FL        20190211      66993001968        ALBUTEROL   AER HFA
CA        20190211      66993001968        ALBUTEROL   AER HFA
MN        20190211      66993001968        ALBUTEROL   AER HFA
MI        20190211      66993001968        ALBUTEROL   AER HFA
SC        20190211      66993001968        ALBUTEROL   AER HFA
MI        20190211      66993001968        ALBUTEROL   AER HFA
MI        20190211      66993001968        ALBUTEROL   AER HFA
KY        20190211      66993001968        ALBUTEROL   AER HFA
MI        20190211      66993001968        ALBUTEROL   AER HFA
CA        20190211      66993001968        ALBUTEROL   AER HFA
IA        20190211      66993001968        ALBUTEROL   AER HFA
MS        20190211      66993001968        ALBUTEROL   AER HFA
OH        20190211      66993001968        ALBUTEROL   AER HFA
FL        20190211      66993001968        ALBUTEROL   AER HFA
WA        20190211      66993001968        ALBUTEROL   AER HFA
LA        20190211      66993001968        ALBUTEROL   AER HFA
LA        20190211      66993001968        ALBUTEROL   AER HFA
MO        20190211      66993001968        ALBUTEROL   AER HFA


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STATE     DATE FILL     NDC                DRUG
PA        20190211      66993001968        ALBUTEROL   AER HFA
WA        20190211      66993001968        ALBUTEROL   AER HFA
SC        20190211      66993001968        ALBUTEROL   AER HFA
FL        20190211      66993001968        ALBUTEROL   AER HFA
KS        20190211      66993001968        ALBUTEROL   AER HFA
HI        20190211      66993001968        ALBUTEROL   AER HFA
AZ        20190211      66993001968        ALBUTEROL   AER HFA
FL        20190211      66993001968        ALBUTEROL   AER HFA
KY        20190211      66993001968        ALBUTEROL   AER HFA
SD        20190211      66993001968        ALBUTEROL   AER HFA
PA        20190211      66993001968        ALBUTEROL   AER HFA
OH        20190211      66993001968        ALBUTEROL   AER HFA
FL        20190211      66993001968        ALBUTEROL   AER HFA
TX        20190211      66993001968        ALBUTEROL   AER HFA
FL        20190211      66993001968        ALBUTEROL   AER HFA
MD        20190211      66993001968        ALBUTEROL   AER HFA
FL        20190211      66993001968        ALBUTEROL   AER HFA
CA        20190211      66993001968        ALBUTEROL   AER HFA
MI        20190211      66993001968        ALBUTEROL   AER HFA
FL        20190211      66993001968        ALBUTEROL   AER HFA
MS        20190211      66993001968        ALBUTEROL   AER HFA
MI        20190211      66993001968        ALBUTEROL   AER HFA
MI        20190211      66993001968        ALBUTEROL   AER HFA
MI        20190211      66993001968        ALBUTEROL   AER HFA
WI        20190211      66993001968        ALBUTEROL   AER HFA
MN        20190211      66993001968        ALBUTEROL   AER HFA
GA        20190211      66993001968        ALBUTEROL   AER HFA
MS        20190211      66993001968        ALBUTEROL   AER HFA
MN        20190211      66993001968        ALBUTEROL   AER HFA
OK        20190211      66993001968        ALBUTEROL   AER HFA
SC        20190211      66993001968        ALBUTEROL   AER HFA
NY        20190211      66993001968        ALBUTEROL   AER HFA
FL        20190211      66993001968        ALBUTEROL   AER HFA
OH        20190211      66993001968        ALBUTEROL   AER HFA
PA        20190211      66993001968        ALBUTEROL   AER HFA
IL        20190211      66993001968        ALBUTEROL   AER HFA
IL        20190211      66993001968        ALBUTEROL   AER HFA
NC        20190211      66993001968        ALBUTEROL   AER HFA
IL        20190211      66993001968        ALBUTEROL   AER HFA
IL        20190211      66993001968        ALBUTEROL   AER HFA


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IL        20190211      66993001968        ALBUTEROL   AER HFA
ME        20190211      66993001968        ALBUTEROL   AER HFA
MI        20190211      66993001968        ALBUTEROL   AER HFA
SD        20190211      66993001968        ALBUTEROL   AER HFA
MD        20190211      66993001968        ALBUTEROL   AER HFA
WI        20190211      66993001968        ALBUTEROL   AER HFA
LA        20190211      66993001968        ALBUTEROL   AER HFA
FL        20190211      66993001968        ALBUTEROL   AER HFA
GA        20190211      66993001968        ALBUTEROL   AER HFA
IL        20190212      66993001968        ALBUTEROL   AER HFA
CA        20190212      66993001968        ALBUTEROL   AER HFA
CA        20190212      66993001968        ALBUTEROL   AER HFA
GA        20190212      66993001968        ALBUTEROL   AER HFA
LA        20190212      66993001968        ALBUTEROL   AER HFA
AL        20190212      66993001968        ALBUTEROL   AER HFA
TX        20190212      66993001968        ALBUTEROL   AER HFA
IN        20190212      66993001968        ALBUTEROL   AER HFA
IN        20190212      66993001968        ALBUTEROL   AER HFA
NJ        20190212      66993001968        ALBUTEROL   AER HFA
NY        20190212      66993001968        ALBUTEROL   AER HFA
IL        20190212      66993001968        ALBUTEROL   AER HFA
NC        20190212      66993001968        ALBUTEROL   AER HFA
VT        20190212      66993001968        ALBUTEROL   AER HFA
TN        20190212      66993001968        ALBUTEROL   AER HFA
NC        20190212      66993001968        ALBUTEROL   AER HFA
TX        20190212      66993001968        ALBUTEROL   AER HFA
OH        20190212      66993001968        ALBUTEROL   AER HFA
ID        20190212      66993001968        ALBUTEROL   AER HFA
TX        20190212      66993001968        ALBUTEROL   AER HFA
SC        20190212      66993001968        ALBUTEROL   AER HFA
IN        20190212      66993001968        ALBUTEROL   AER HFA
CA        20190212      66993001968        ALBUTEROL   AER HFA
WV        20190212      66993001968        ALBUTEROL   AER HFA
NC        20190212      66993001968        ALBUTEROL   AER HFA
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NY        20190212      66993001968        ALBUTEROL   AER HFA
IL        20190212      66993001968        ALBUTEROL   AER HFA
SC        20190212      66993001968        ALBUTEROL   AER HFA
CT        20190212      66993001968        ALBUTEROL   AER HFA
PA        20190212      66993001968        ALBUTEROL   AER HFA


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OK        20190212      66993001968        ALBUTEROL   AER HFA
IL        20190212      66993001968        ALBUTEROL   AER HFA
KY        20190212      66993001968        ALBUTEROL   AER HFA
GA        20190212      66993001968        ALBUTEROL   AER HFA
TX        20190212      66993001968        ALBUTEROL   AER HFA
OR        20190212      66993001968        ALBUTEROL   AER HFA
PA        20190212      66993001968        ALBUTEROL   AER HFA
AR        20190212      66993001968        ALBUTEROL   AER HFA
MN        20190212      66993001968        ALBUTEROL   AER HFA
IL        20190212      66993001968        ALBUTEROL   AER HFA
WA        20190212      66993001968        ALBUTEROL   AER HFA
CA        20190212      66993001968        ALBUTEROL   AER HFA
MO        20190212      66993001968        ALBUTEROL   AER HFA
OH        20190212      66993001968        ALBUTEROL   AER HFA
IA        20190212      66993001968        ALBUTEROL   AER HFA
NY        20190212      66993001968        ALBUTEROL   AER HFA
MA        20190212      66993001968        ALBUTEROL   AER HFA
KS        20190212      66993001968        ALBUTEROL   AER HFA
CA        20190212      66993001968        ALBUTEROL   AER HFA
MS        20190212      66993001968        ALBUTEROL   AER HFA
IL        20190212      66993001968        ALBUTEROL   AER HFA
KY        20190212      66993001968        ALBUTEROL   AER HFA
IL        20190212      66993001968        ALBUTEROL   AER HFA
IN        20190212      66993001968        ALBUTEROL   AER HFA
NJ        20190212      66993001968        ALBUTEROL   AER HFA
NM        20190212      66993001968        ALBUTEROL   AER HFA
MI        20190212      66993001968        ALBUTEROL   AER HFA
FL        20190212      66993001968        ALBUTEROL   AER HFA
SC        20190212      66993001968        ALBUTEROL   AER HFA
MT        20190212      66993001968        ALBUTEROL   AER HFA
AR        20190212      66993001968        ALBUTEROL   AER HFA
CA        20190212      66993001968        ALBUTEROL   AER HFA
MI        20190212      66993001968        ALBUTEROL   AER HFA
WV        20190212      66993001968        ALBUTEROL   AER HFA
CA        20190212      66993001968        ALBUTEROL   AER HFA
IL        20190212      66993001968        ALBUTEROL   AER HFA
PA        20190212      66993001968        ALBUTEROL   AER HFA
NY        20190212      66993001968        ALBUTEROL   AER HFA
WI        20190212      66993001968        ALBUTEROL   AER HFA
WV        20190212      66993001968        ALBUTEROL   AER HFA


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STATE     DATE FILL     NDC                DRUG
TX        20190212      66993001968        ALBUTEROL   AER HFA
GA        20190212      66993001968        ALBUTEROL   AER HFA
SD        20190212      66993001968        ALBUTEROL   AER HFA
IL        20190212      66993001968        ALBUTEROL   AER HFA
NY        20190212      66993001968        ALBUTEROL   AER HFA
IL        20190212      66993001968        ALBUTEROL   AER HFA
IL        20190212      66993001968        ALBUTEROL   AER HFA
KY        20190212      66993001968        ALBUTEROL   AER HFA
TN        20190212      66993001968        ALBUTEROL   AER HFA
KY        20190212      66993001968        ALBUTEROL   AER HFA
IL        20190212      66993001968        ALBUTEROL   AER HFA
ID        20190212      66993001968        ALBUTEROL   AER HFA
CA        20190212      66993001968        ALBUTEROL   AER HFA
SC        20190212      66993001968        ALBUTEROL   AER HFA
FL        20190212      66993001968        ALBUTEROL   AER HFA
IL        20190212      66993001968        ALBUTEROL   AER HFA
OK        20190212      66993001968        ALBUTEROL   AER HFA
IN        20190212      66993001968        ALBUTEROL   AER HFA
MN        20190212      66993001968        ALBUTEROL   AER HFA
CA        20190212      66993001968        ALBUTEROL   AER HFA
LA        20190212      66993001968        ALBUTEROL   AER HFA
CA        20190212      66993001968        ALBUTEROL   AER HFA
OH        20190212      66993001968        ALBUTEROL   AER HFA
IN        20190212      66993001968        ALBUTEROL   AER HFA
PA        20190212      66993001968        ALBUTEROL   AER HFA
VA        20190212      66993001968        ALBUTEROL   AER HFA
SC        20190212      66993001968        ALBUTEROL   AER HFA
NY        20190212      66993001968        ALBUTEROL   AER HFA
IL        20190212      66993001968        ALBUTEROL   AER HFA
CA        20190212      66993001968        ALBUTEROL   AER HFA
AR        20190212      66993001968        ALBUTEROL   AER HFA
MO        20190212      66993001968        ALBUTEROL   AER HFA
OR        20190212      66993001968        ALBUTEROL   AER HFA
NM        20190212      66993001968        ALBUTEROL   AER HFA
CO        20190212      66993001968        ALBUTEROL   AER HFA
IN        20190212      66993001968        ALBUTEROL   AER HFA
NY        20190212      66993001968        ALBUTEROL   AER HFA
NY        20190212      66993001968        ALBUTEROL   AER HFA
MD        20190212      66993001968        ALBUTEROL   AER HFA
AR        20190212      66993001968        ALBUTEROL   AER HFA


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STATE     DATE FILL     NDC                DRUG
IA        20190213      66993001968        ALBUTEROL   AER HFA
KY        20190213      66993001968        ALBUTEROL   AER HFA
FL        20190213      66993001968        ALBUTEROL   AER HFA
IL        20190213      66993001968        ALBUTEROL   AER HFA
PA        20190213      66993001968        ALBUTEROL   AER HFA
AL        20190213      66993001968        ALBUTEROL   AER HFA
MS        20190213      66993001968        ALBUTEROL   AER HFA
GA        20190213      66993001968        ALBUTEROL   AER HFA
WI        20190213      66993001968        ALBUTEROL   AER HFA
MA        20190213      66993001968        ALBUTEROL   AER HFA
PA        20190213      66993001968        ALBUTEROL   AER HFA
KS        20190213      66993001968        ALBUTEROL   AER HFA
FL        20190213      66993001968        ALBUTEROL   AER HFA
NY        20190213      66993001968        ALBUTEROL   AER HFA
OH        20190213      66993001968        ALBUTEROL   AER HFA
FL        20190213      66993001968        ALBUTEROL   AER HFA
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FL        20190213      66993001968        ALBUTEROL   AER HFA
GA        20190213      66993001968        ALBUTEROL   AER HFA
OH        20190213      66993001968        ALBUTEROL   AER HFA
MI        20190213      66993001968        ALBUTEROL   AER HFA
IL        20190213      66993001968        ALBUTEROL   AER HFA
NC        20190213      66993001968        ALBUTEROL   AER HFA
CA        20190213      66993001968        ALBUTEROL   AER HFA
IA        20190213      66993001968        ALBUTEROL   AER HFA
SC        20190213      66993001968        ALBUTEROL   AER HFA
KY        20190213      66993001968        ALBUTEROL   AER HFA
NY        20190213      66993001968        ALBUTEROL   AER HFA
WA        20190213      66993001968        ALBUTEROL   AER HFA




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Kandace Thomas :      Thank you for calling Customer Care. My name is Candace. Can I have the
                      member's first and last name?

Beneficiary 15:                         .

Kandace Thomas :      Okay, spell your first name for me.

Beneficiary 15:                     .

Kandace Thomas :      All right. And what is your date of birth?

Beneficiary 15:                 .

Kandace Thomas :      Okay. And Ms. George, can you give me your zip code?

Beneficiary 15:             .

Kandace Thomas :      Perfect. And just one of the medications that you take.

Beneficiary 15:       Advair Diskus.

Kandace Thomas :      All right. Perfect. And thank you so much for that. How can I assist you today?

Beneficiary 15:       Pardon?

Kandace Thomas :      How can I assist you today?

Beneficiary 15:       Okay. I went to get my Advair Diskus, and I know that there's a generic available
                      and it seems like SilverScript is not covering the generic and because it's not on
                      the formulary and that is wrong. And I would like the Wixela.

Kandace Thomas :      Okay. So you would prefer the generic?

Beneficiary 15:       Yes. The pharmacy is supposed to offer me the generic versus the preferred
                      brand and the SilverScript should not have anything to do with my preference
                      with, especially when there's a generic available.

Beneficiary 15:       Right. Okay. Well-

Beneficiary 15:       And another thing is the cost probably will be cheaper and I won't go in the
                      donut hole maybe.

Kandace Thomas :      Okay. Well, in this case, let's see. This brand, yeah so the generic is not on the
                      formulary. And so I'm looking at it now and I do see here that the generic is not
                      on the formulary. So in this case, the brand is preferred. In some cases they
                      prefer the generics, but in this case, the brand is preferred. So are you wanting
                      to see about trying to get the generic?
                                                                                          Page 1 of 4
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Beneficiary 15:       Yes. Yes.

Kandace Thomas :      Okay. So let's see. Okay. All right. So that would require, so what'll have to
                      happen is called a formulary exception since this one is not on the formulary.
                      We'll have to start the process to try and get this particular one on the
                      formulary in your case. Okay. So that means I have to get our Care Exception
                      Review Team on the line. They'll speak with you, and then they'll get our
                      Coverage Determination Team. And they'll let you know the steps from there.
                      Okay?

Beneficiary 15:       Okay.

Kandace Thomas :      All right. So bear with me one moment here and let me get them on the line.

Beneficiary 15:       Who will I be speaking with?

Kandace Thomas :      I'm going to get our Care Exception Review Team on the line.

Beneficiary 15:       Our what? It's hard to understand you for some reason.

Kandace Thomas :      Okay. I do apologize. It's called the Care Exception Review Team.

Beneficiary 15:       Care reception Review Team.

Kandace Thomas :      Yes, ma'am.

Beneficiary 15:       Something like that.

Kandace Thomas :      Except, uh-huh (affirmative), yeah. They're going to offer alternatives, that is
                      their stage in the process. And if you just want this particular one, then at that
                      point, they'll get our Coverage Determination Team. Okay.

Beneficiary 15:       Okay.

Kandace Thomas :      All right. So bear with me one moment. Let me get them on the line for you.

Beneficiary 15:       Okay.

Kandace Thomas :      All right.             ?

Beneficiary 15:       Yeah.

Kandace Thomas :      Yes. So I got the Care Exception Review Team on the line. And when I explained
                      to them what was going on, you were wanting to get the Wixela covered, she
                      had let me know that in cases where the note says dispense brand, you have to
                      get the brand. She said there's no way you can get a formulary exception on
                      that, because it's specifically saying. She said normally when they say that, that
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                      means there's something going on with the generic. So they prefer the brand.
                      And actually now that I'm doing it, that Wixela is way more expensive than the
                      Advair. The Wixela is almost $200.

Beneficiary 15:       $200 for whom?

Kandace Thomas :      For the Wixela, the generic.

Beneficiary 15:       I pay $38 for Advair myself through SilverScript.

Kandace Thomas :      Right.

Beneficiary 15:       The plan paid $359.48.

Kandace Thomas :      Yes ma'am.

Beneficiary 15:       What are you telling me?

Kandace Thomas :      What I'm telling you is that the Wixela, if you were to get that one... you can't
                      get an exception on it. But the only good thing with that is that if you were to
                      pay for the Wixela, you're going to be paying $128 for it. The brand is actually
                      cheaper.

Beneficiary 15:       I know somebody that gets it and they don't pay that.

Kandace Thomas :      Well, they-

Beneficiary 15:       Well, it sounds like SilverScript just doesn't want to change because it's to their
                      benefit and I'm not feeling that they're thinking of the consumer and it's hard
                      for me to believe that the generic is pricier than the Advair.

Kandace Thomas :      Yes, ma'am.

Beneficiary 15:       It shouldn't be that way. Well, maybe according to SilverScript, because they
                      want it to be. So there is no exception, right? Is that what you're telling me?

Kandace Thomas :      That is what I was told by our Care Exception Review member. When it says to
                      dispense the brand, normally in cases when it says specifically dispense the
                      brand, that means we're giving you the brand instead of the generic because
                      something is going on with that generic. And that's actually looking-

Beneficiary 15:       What?

Kandace Thomas :      If I knew, I promise I would tell you. I really don't know that it's just what she
                      said, but it has a specific note. And even when they pulled it up at the
                      pharmacy, it literally says dispense brand. So if there's something going on

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                      where we don't want to give it to you, where it may affect you, then we're not
                      going to. We don't want you to receive anything that's not-

Beneficiary 15:       Well, I will talk with my doctor about this and I will find out other things and-

Kandace Thomas :      Okay.

Beneficiary 15:       If I don't like what SilverScript is doing, I won't have script in the future. So I will
                      find out on my own what the scoop is. But I don't like personally what
                      SilverScript is doing.

Kandace Thomas :      Okay. Now if you're wanting to talk to somebody and maybe see if they can do
                      the exception, I was just told-

Beneficiary 15:       But you just told me that there are no exceptions.

Kandace Thomas :      That is what I just told you, but what I'm asking you now, well... There's no.
                      Okay.

Beneficiary 15:       Pardon?

Kandace Thomas :      No, you're right. There's no exception on that. So was there anything else I
                      could assist you with today other than discussing that Advair and that Wixela?

Beneficiary 15:       No, not right now.

Kandace Thomas :      Perfect. Well, thank you so much for calling and you enjoy the rest of your day.




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Recording:            You have reached the CD specialized team. Please hold for the next
                      representative. Your call may be monitored or recorded to ensure quality.

Kiana:                Thank you for calling the care center review team. My name is Kiana. Can I have
                      your first name, last initial?

Kandace Thomas:       Candace T., like Tom.

Kiana:                All right. What's your ZID?

Kandace Thomas:       My ZID is 260714.

Kiana:                Site location?

Kandace Thomas:       Jonesboro.

Kiana:                Who is the supervisor?

Kandace Thomas:       Thomas B., like boy.

Kiana:                What is the members ID?

Kandace Thomas:       That is             .

Kiana:                Members name, date of birth, and client code?

Kandace Thomas:                                                       .

Kiana:                Do you need a code for the member for the authenticate?

Kandace Thomas:       Yes.

Kiana:                Okay. What's the reason for the call?

Kandace Thomas:       She was trying to get her WIXELA INHUB filled, but she was told at the pharmacy
                      that she had to use the brand name, which ADVAIR DISKUS. She's really upset
                      about that. She wants to use the generic. She's wanting to get an exception on
                      that one.

Kiana:                She can not use that medication. She has to use the brand. That's why it's saying
                      dispense her to brand.

Kandace Thomas:       She was saying it's wrong, and you can't tell me what to buy. She absolutely
                      cannot get an exception on that WIXELA?




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Kiana:                No. That one, that medication, anytime they say dispense brand, it's something
                      going on with that medication. We have to dispense her the brand. Her doctor
                      actually wrote her a prescription for the brand. We have to give her.

Kandace Thomas:       Right. She knows that she was wrote that prescription. She is wanting it... I'll just
                      let her know that she has to get that one.

Kiana:                Right. If she was to get that medication, it's going to be higher than the one she
                      has, it's almost $100.00. That medication, she has to be dispensed the brand.
                      That's what she has to have.

Kandace Thomas:       Okay. All right. Sounds good. Thank you so much.

Kiana:                You're welcome. Anything else I can assist you with today?

Kandace Thomas:       No, that's it.

Kiana:                All right. Thank you. Have a good day.

Kandace Thomas:       You, too.




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         2019.02.27 Advair Diskus Gx Rejected Claims
  Date of      RxClaim Claim #       Drug Label Name       Claim        Local Msg
  Service                                                  Status   (Custom Message)
 (Fill Date)
02/27/2019     190644495902010   FLUTIC/SALME AER 100/50     R      DISPENSE BRAND -
                                                                     ADVAIR DISKUS
02/27/2019     190644495940010   FLUTIC/SALME AER 100/50     R      DISPENSE BRAND -
                                                                     ADVAIR DISKUS
02/27/2019     190644495948010   FLUTIC/SALME AER 100/50     R      DISPENSE BRAND -
                                                                     ADVAIR DISKUS
02/27/2019     190644495964010   FLUTIC/SALME AER 100/50     R      DISPENSE BRAND -
                                                                     ADVAIR DISKUS
02/27/2019     190644495970010   FLUTIC/SALME AER 100/50     R      DISPENSE BRAND -
                                                                     ADVAIR DISKUS
02/27/2019     190644495987010   FLUTIC/SALME AER 100/50     R      DISPENSE BRAND -
                                                                     ADVAIR DISKUS
02/27/2019     190644495993010   FLUTIC/SALME AER 100/50     R      DISPENSE BRAND -
                                                                     ADVAIR DISKUS
02/27/2019     190644496009010   FLUTIC/SALME AER 100/50     R      DISPENSE BRAND -
                                                                     ADVAIR DISKUS
02/27/2019     190644496015010   FLUTIC/SALME AER 100/50     R      DISPENSE BRAND -
                                                                     ADVAIR DISKUS
02/27/2019     190644496032010   FLUTIC/SALME AER 100/50     R      DISPENSE BRAND -
                                                                     ADVAIR DISKUS
02/27/2019     190644496038010   FLUTIC/SALME AER 100/50     R      DISPENSE BRAND -
                                                                     ADVAIR DISKUS
02/27/2019     190644496054010   FLUTIC/SALME AER 100/50     R      DISPENSE BRAND -
                                                                     ADVAIR DISKUS
02/27/2019     190644496061010   FLUTIC/SALME AER 250/50     R      DISPENSE BRAND -
                                                                     ADVAIR DISKUS
02/27/2019     190644496077010   FLUTIC/SALME AER 250/50     R      DISPENSE BRAND -
                                                                     ADVAIR DISKUS
02/27/2019     190644496084010   FLUTIC/SALME AER 250/50     R      DISPENSE BRAND -
                                                                     ADVAIR DISKUS
02/27/2019     190644496100010   FLUTIC/SALME AER 250/50     R      DISPENSE BRAND -
                                                                     ADVAIR DISKUS
02/27/2019     190644496106010   FLUTIC/SALME AER 250/50     R      DISPENSE BRAND -
                                                                     ADVAIR DISKUS
02/27/2019     190644496122010   FLUTIC/SALME AER 250/50     R      DISPENSE BRAND -
                                                                     ADVAIR DISKUS
02/27/2019     190644496129010   FLUTIC/SALME AER 250/50     R      DISPENSE BRAND -
                                                                     ADVAIR DISKUS
02/27/2019     190644496145010   FLUTIC/SALME AER 250/50     R      DISPENSE BRAND -
                                                                     ADVAIR DISKUS


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  Date of      RxClaim Claim #       Drug Label Name       Claim        Local Msg
  Service                                                  Status   (Custom Message)
 (Fill Date)
02/27/2019     190644496151010   FLUTIC/SALME AER 250/50     R      DISPENSE BRAND -
                                                                     ADVAIR DISKUS
02/27/2019     190644496168010   FLUTIC/SALME AER 250/50     R      DISPENSE BRAND -
                                                                     ADVAIR DISKUS
02/27/2019     190644496174010   FLUTIC/SALME AER 250/50     R      DISPENSE BRAND -
                                                                     ADVAIR DISKUS
02/27/2019     190644496190010   FLUTIC/SALME AER 250/50     R      DISPENSE BRAND -
                                                                     ADVAIR DISKUS
02/27/2019     190644496196010   FLUTIC/SALME AER 500/50     R      DISPENSE BRAND -
                                                                     ADVAIR DISKUS
02/27/2019     190644496212010   FLUTIC/SALME AER 500/50     R      DISPENSE BRAND -
                                                                     ADVAIR DISKUS
02/27/2019     190644496219010   FLUTIC/SALME AER 500/50     R      DISPENSE BRAND -
                                                                     ADVAIR DISKUS
02/27/2019     190644496234010   FLUTIC/SALME AER 500/50     R      DISPENSE BRAND -
                                                                     ADVAIR DISKUS
02/27/2019     190644496241010   FLUTIC/SALME AER 500/50     R      DISPENSE BRAND -
                                                                     ADVAIR DISKUS
02/27/2019     190644496257010   FLUTIC/SALME AER 500/50     R      DISPENSE BRAND -
                                                                     ADVAIR DISKUS
02/27/2019     190644496263010   FLUTIC/SALME AER 500/50     R      DISPENSE BRAND -
                                                                     ADVAIR DISKUS
02/27/2019     190644496280010   FLUTIC/SALME AER 500/50     R      DISPENSE BRAND -
                                                                     ADVAIR DISKUS
02/27/2019     190644496286010   FLUTIC/SALME AER 500/50     R      DISPENSE BRAND -
                                                                     ADVAIR DISKUS
02/27/2019     190644496302010   FLUTIC/SALME AER 500/50     R      DISPENSE BRAND -
                                                                     ADVAIR DISKUS
02/27/2019     190644496308010   FLUTIC/SALME AER 500/50     R      DISPENSE BRAND -
                                                                     ADVAIR DISKUS
02/27/2019     190644496323010   FLUTIC/SALME AER 500/50     R      DISPENSE BRAND -
                                                                     ADVAIR DISKUS
02/27/2019     190644496330010 WIXELA INHUB AER 100/50       R      DISPENSE BRAND -
                                                                     ADVAIR DISKUS
02/27/2019     190644496345010 WIXELA INHUB AER 100/50       R      DISPENSE BRAND -
                                                                     ADVAIR DISKUS
02/27/2019     190644496351010 WIXELA INHUB AER 100/50       R      DISPENSE BRAND -
                                                                     ADVAIR DISKUS
02/27/2019     190644496367010 WIXELA INHUB AER 100/50       R      DISPENSE BRAND -
                                                                     ADVAIR DISKUS
02/27/2019     190644496373010 WIXELA INHUB AER 100/50       R      DISPENSE BRAND -
                                                                     ADVAIR DISKUS
02/27/2019     190644496389010 WIXELA INHUB AER 100/50       R      DISPENSE BRAND -
                                                                     ADVAIR DISKUS

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  Date of      RxClaim Claim #     Drug Label Name       Claim        Local Msg
  Service                                                Status   (Custom Message)
 (Fill Date)
02/27/2019     190644496395010 WIXELA INHUB AER 100/50     R      DISPENSE BRAND -
                                                                   ADVAIR DISKUS
02/27/2019     190644496411010 WIXELA INHUB AER 100/50     R      DISPENSE BRAND -
                                                                   ADVAIR DISKUS
02/27/2019     190644496417010 WIXELA INHUB AER 100/50     R      DISPENSE BRAND -
                                                                   ADVAIR DISKUS
02/27/2019     190644496433010 WIXELA INHUB AER 100/50     R      DISPENSE BRAND -
                                                                   ADVAIR DISKUS
02/27/2019     190644496439010 WIXELA INHUB AER 100/50     R      DISPENSE BRAND -
                                                                   ADVAIR DISKUS
02/27/2019     190644496455010 WIXELA INHUB AER 100/50     R      DISPENSE BRAND -
                                                                   ADVAIR DISKUS
02/27/2019     190644496461010 WIXELA INHUB AER 250/50     R      DISPENSE BRAND -
                                                                   ADVAIR DISKUS
02/27/2019     190644496476010 WIXELA INHUB AER 250/50     R      DISPENSE BRAND -
                                                                   ADVAIR DISKUS
02/27/2019     190644496482010 WIXELA INHUB AER 250/50     R      DISPENSE BRAND -
                                                                   ADVAIR DISKUS
02/27/2019     190644496498010 WIXELA INHUB AER 250/50     R      DISPENSE BRAND -
                                                                   ADVAIR DISKUS
02/27/2019     190644496504010 WIXELA INHUB AER 250/50     R      DISPENSE BRAND -
                                                                   ADVAIR DISKUS
02/27/2019     190644496520010 WIXELA INHUB AER 250/50     R      DISPENSE BRAND -
                                                                   ADVAIR DISKUS
02/27/2019     190644496526010 WIXELA INHUB AER 250/50     R      DISPENSE BRAND -
                                                                   ADVAIR DISKUS
02/27/2019     190644496542010 WIXELA INHUB AER 250/50     R      DISPENSE BRAND -
                                                                   ADVAIR DISKUS
02/27/2019     190644496548010 WIXELA INHUB AER 250/50     R      DISPENSE BRAND -
                                                                   ADVAIR DISKUS
02/27/2019     190644496564010 WIXELA INHUB AER 250/50     R      DISPENSE BRAND -
                                                                   ADVAIR DISKUS
02/27/2019     190644496570010 WIXELA INHUB AER 250/50     R      DISPENSE BRAND -
                                                                   ADVAIR DISKUS
02/27/2019     190644496586010 WIXELA INHUB AER 250/50     R      DISPENSE BRAND -
                                                                   ADVAIR DISKUS
02/27/2019     190644496592010 WIXELA INHUB AER 500/50     R      DISPENSE BRAND -
                                                                   ADVAIR DISKUS
02/27/2019     190644496609010 WIXELA INHUB AER 500/50     R      DISPENSE BRAND -
                                                                   ADVAIR DISKUS
02/27/2019     190644496615010 WIXELA INHUB AER 500/50     R      DISPENSE BRAND -
                                                                   ADVAIR DISKUS
02/27/2019     190644496630010 WIXELA INHUB AER 500/50     R      DISPENSE BRAND -
                                                                   ADVAIR DISKUS

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  Date of      RxClaim Claim #     Drug Label Name       Claim        Local Msg
  Service                                                Status   (Custom Message)
 (Fill Date)
02/27/2019     190644496636010 WIXELA INHUB AER 500/50     R      DISPENSE BRAND -
                                                                   ADVAIR DISKUS
02/27/2019     190644496652010 WIXELA INHUB AER 500/50     R      DISPENSE BRAND -
                                                                   ADVAIR DISKUS
02/27/2019     190644496658010 WIXELA INHUB AER 500/50     R      DISPENSE BRAND -
                                                                   ADVAIR DISKUS
02/27/2019     190644496674010 WIXELA INHUB AER 500/50     R      DISPENSE BRAND -
                                                                   ADVAIR DISKUS
02/27/2019     190644496680010 WIXELA INHUB AER 500/50     R      DISPENSE BRAND -
                                                                   ADVAIR DISKUS
02/27/2019     190644496697010 WIXELA INHUB AER 500/50     R      DISPENSE BRAND -
                                                                   ADVAIR DISKUS
02/27/2019     190644496703010 WIXELA INHUB AER 500/50     R      DISPENSE BRAND -
                                                                   ADVAIR DISKUS
02/27/2019     190644496719010 WIXELA INHUB AER 500/50     R      DISPENSE BRAND -
                                                                   ADVAIR DISKUS




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